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                                                          SOUTHERN DISTRICT OF INDIANA
                                                               Laura A. Briggs, Clerk
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